Case 2:21-cv-04920-WLH-ADS       Document 274-1    Filed 02/09/23   Page 1 of 4 Page
                                     ID #:6819


  1
      Michael J. Bowe                             David M. Stein (#198256)
  2   (admitted pro hac vice)                     dstein@brownrudnick.com
      mbowe@brownrudnick.com                      BROWN RUDNICK LLP
  3   Lauren Tabaksblat                           2211 Michelson Drive, 7th Floor
      (admitted pro hac vice)                     Irvine, California 92612
  4   ltabaksblat@brownrudnick.com                Phone:       949.752.7100
      BROWN RUDNICK LLP                           Fax: 949.252.1514
  5   7 Times Square
      New York, NY 10036
  6   Telephone: (212) 209-4800
      Facsimile: (212) 209-4801
  7
      Attorneys for Plaintiff
  8
                            UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10                              SOUTHERN DIVISION
 11 SERENA FLEITES,                               CASE NO. 2:21-CV-04920-CJC-ADS

 12          Plaintiff,

 13         v.
                                                  DISCOVERY DOCUMENT:
 14 MINDGEEK S.A.R.L.; MG                         REFERRED TO MAGISTRATE
                                                  JUDGE AUTUMN D. SPAETH
    FREESITES, LTD; MINDGEEK USA
 15 INCORPORATED; MG PREMIUM                      DECLARATION OF JOHN G.
 16 LTD.; MG GLOBAL                               DOYLE IN SUPPORT OF
                                                  PLAINTIFF’S MOTION TO
    ENTERTAINMENT INC.; 9219-1568                 COMPEL DEFENDANT FERAS
 17 QUEBEC, INC.; BERND BERGMAIR;                 ANTOON’S RESPONSES TO
 18 FERAS ANTOON; DAVID                           PLAINTIFF’S FIRST REQUEST
                                                  FOR PRODUCTION OF
    TASSILLO; COREY URMAN; VISA                   DOCUMENTS AND
 19 INC.; COLBECK CAPITAL DOES 1-                 INTERROGATORIES
 20 5; BERGMAIR DOES 1-5                          Date: March 8, 2023
 21                                               Time: 10:00 a.m.
                   Defendants.                    Courtroom: 6B
 22                                               Jurisdictional Discovery Cutoff:
                                                  May 1, 2023
 23
 24
 25
 26
 27
 28
                                                              CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANT FERAS ANTOON’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
      OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 274-1     Filed 02/09/23    Page 2 of 4 Page
                                     ID #:6820


  1                       DECLARATION OF JOHN G. DOYLE
  2         I, John G. Doyle, declare as follows:
  3         1.    I am an associate with the law firm Brown Rudnick LLP, counsel for
  4 Plaintiff Serena Fleites in this case. I submit this declaration in support of Plaintiff’s
  5 Motion to Compel Defendant Feras Antoon’s Responses to Plaintiff’s First Request
  6 for Production of Documents and Interrogatories (“Plaintiff’s Motion to Compel”). I
  7 have personal knowledge of the matters in this declaration.
  8         2.    Plaintiff served Defendant Antoon with her First Set of Interrogatories
  9 on August 17, 2022. A true and accurate copy of Plaintiff’s Interrogatories is attached
 10 as Exhibit 1.
 11         3.    Plaintiff served Defendant Antoon with her First Set of Requests for
 12 Production on September 20, 2022. A true and accurate copy of Plaintiff’s RFPs is
 13 attached as Exhibit 2.
 14         4.    On September 22, 2022, Defendant Antoon provided a redacted version
 15 of his responses and objections to Plaintiff’s Interrogatories, a true and accurate copy
 16 of which is attached as Exhibit 3.
 17         5.    On October 17, 2022, Defendant Antoon provided an unredacted version
 18 of his responses and objections to Plaintiff’s Interrogatories. Defendant Antoon
 19 designated the unredacted responses as “Confidential” pursuant to the Stipulated
 20 Protective Order entered by this Court. A true and accurate copy of Defendant
 21 Antoon’s unredacted Interrogatory Responses is attached as Exhibit 4 and is filed
 22
 23
 24
 25
 26
 27
 28
                                            1                 CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANT FERAS ANTOON’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
      OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS      Document 274-1    Filed 02/09/23   Page 3 of 4 Page
                                    ID #:6821


  1 under seal. A motion to file Exhibit 4 under seal is being filed contemporaneously
  2 in accordance with Local Rule 79-5.2.2.
  3         6.    On October 20, 2022, Plaintiff received Defendant Antoon’s Objections
  4 and Responses to Plaintiff’s First Request for Production of Documents, a true and
  5 accurate copy of which is attached as Exhibit 5.
  6         7.    On December 5, 2022, Plaintiff sent Defendant Antoon a detailed letter
  7 in accordance with Local Rule 37-1, outlining her objections to Defendant Bergmair’s
  8 responses and objections and reserving on others. A true and accurate copy of that
  9 letter is attached as Exhibit 6. Accompanying that letter was Plaintiff’s request for
 10 the parties to meet and confer on December 7, 2022, to discuss the disputed discovery
 11 responses.
 12         8.    On December 6, 2022, Counsel for Defendant Tassillo responded on
 13 behalf of himself and Defendant Antoon’s counsel, saying they were not available to
 14 meet on the requested date and would propose an alternative date for the following
 15 week, declining Plaintiff’s supplemental request to meet on Thursday, December 8,
 16 2022. In addition, Counsel for Defendant Tassillo said he and Defendant Antoon’s
 17 counsel intended to conduct a joint meet and confer with Plaintiff regarding the
 18 subject discovery responses.
 19         9.    On December 9, 2022, Plaintiff contacted counsel for Defendants
 20 Tassillo and Antoon, again asking about their availability to meet and confer,
 21 proposing a meeting on Monday, December 12, 2022. That same day, Defendant
 22 Tassillo’s counsel, on behalf of Defendant Tassillo and all of the Individual
 23 Defendants and their counsel, e-mailed Plaintiff proposing a joint meet and confer on
 24 Thursday, December 15, 2022. Plaintiff agreed to the proposed date if that was the
 25
 26
 27
 28
                                            2                 CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANT FERAS ANTOON’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
      OF DOCUMENTS AND INTERROGATORIES
Case 2:21-cv-04920-WLH-ADS       Document 274-1     Filed 02/09/23     Page 4 of 4 Page
                                     ID #:6822


  1 earliest defense counsel were willing to meet but apprised counsel of her willingness
  2 and availability to meet at an earlier date and time.
  3         10.    The parties met and conferred on December 15, 2022. They were not
  4 able to resolve their differences concerning the disputed discovery requests. During
  5 the meet and confer, defendants’ counsel said they had not conducted a search for
  6 material responsive to Plaintiff’s discovery requests purportedly because of the
  7 breadth and scope of the requests, and that, instead, the Individual Defendants
  8 intended to await the Court’s decision on Plaintiff’s pending motion to compel the
  9 MindGeek Entities’ discovery responses before responding any further to Plaintiff’s
 10 requests. During this meet and confer, defense counsel declined to discuss their
 11 substantive and legal positions concerning the requests asserting, in part, that they did
 12 not want to take a position that would run counter to the MindGeek Entity responses
 13 or to the Court’s future ruling concerning the pending motion to compel.
 14         11.    On December 23, 2022, Plaintiff notified Defendant Antoon of her intent
 15 to file a motion to compel his responses to her requests for production and
 16 interrogatories, and, in accordance with Local Rule 37-2.2, delivered to Defendant’s
 17 counsel Plaintiff’s portion of the joint stipulation to be filed in support of her Motion
 18 to Compel.
 19         12.    To date, neither Defendant Antoon, nor any of the other Individual
 20 Defendants have produced a single document in response to Plaintiff’s discovery
 21 requests. To date, the MindGeek Entity defendants have not produced a single
 22 communication from any of the Individual Defendants.
 23         I swear under the penalty of perjury under the laws of the United States of
 24 America that the foregoing is true and correct.
 25         Executed this 23rd day of December 2022 in Washington, D.C.
 26
                                                    By: /s/ John G. Doyle
 27                                                     John G. Doyle
 28
                                            3                 CASE NO. 21-CV-04920-CJC-ADS
      DECLARATION OF JOHN G. DOYLE IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL
      DEFENDANT FERAS ANTOON’S RESPONSES TO PLAINTIFF’S FIRST REQUEST FOR PRODUCTION
      OF DOCUMENTS AND INTERROGATORIES
